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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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      PAULINO RIOS-LEDESMA,             )        NO. CV 19-8957-RGK (KS)
11                                      )
                    Petitioner,
12          v.                          )
                                        )        ORDER ACCEPTING FINDINGS AND
13                                      )        RECOMMENDATIONS OF UNITED
      MILUSNIC,                         )        STATES MAGISTRATE JUDGE
14
                      Respondent.       )
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      _________________________________ )
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18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of Habeas
19    Corpus (“Petition”), all of the records herein, and the Report and Recommendation of United
20    States Magistrate Judge (“Report”). The time for filing Objections to the Report has passed,
21    and no Objections have been filed with the Court. Having completed its review, the Court
22    accepts the findings and recommendations set forth in the Report.       Accordingly, IT IS
23    ORDERED that: (1) the Petition is DENIED; and (2) Judgment shall be entered dismissing
24    this action without prejudice.
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26    DATED: October 2, 2020                        ________________________________
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27                                                              R. GARY KLAUSNER
                                                          UNITED STATES DISTRICT JUDGE
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